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8/5/2019



Dear Your Honor,

My name is Cory Melvin and I am writing to request early termination of my supervision.

I have completed more than 1 year of my ordered supervision. I was ordered to complete 3 years of
supervised release and I currently have completed 21 months. I maintain a stable residence, and have
been employed full time since my release from prison.

I would like you to also know a few more important facts about me; I am married, have earned my class
A CDL with Haz-Mat endorsement since my release, and I have great appreciation for the time I can now
share with my family, especially my 10 year old granddaughter.

I’ve enclosed some additional accomplishments for your consideration;

Associates Degree in Business.
Commercial Driver’s license.
HVAC certification.
Your Honor, please consider my request for early termination.



Sincerely,
